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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 DENNIS WINDSOR,                                §
                                                §
                 Plaintiff,                     §
                                                §
 v.                                             §       Civil Action No. 3:16-CV-934-L
                                                §
 JEFF OLSON and NERIUM                          §
 INTERNATIONAL, LLC,                            §
                                                §
                 Defendants.                    §

                           MEMORANDUM OPINION AND ORDER

       Before the court are Plaintiff’s Motion for Summary Judgment Against Defendant Nerium

International, LLC’s Counter[c]laims (Doc. 115), filed January 18, 2019; Defendant Nerium

International, LLC’s Brief in Support of its Response to Plaintiff’s Motion for Summary Judgment

Against Nerium’s Counterclaims (Doc. 127), filed February 8, 2019; Plaintiff’s Reply to

Defendant Nerium International, LLC’s Response to Plaintiff’s Motion [for] Summary Judgment

on Nerium’s Counterclaims (Doc. 136), filed February 22, 2019; Defendants’ Motion for Partial

Summary Judgment (Doc. 110), filed January 18, 2019; Plaintiff’s Memorandum in Support of its

Response to Defendants’ Motion for Partial Summary Judgment (Doc. 130), filed February 8,

2019; and Defendants’ Reply in Support of Motion for Partial Summary Judgment (Doc. 135),

filed February 22, 2019.

       After carefully considering the motions, briefs, record, and applicable law, the court grants

Defendants’ Motion for Partial Summary Judgment (Doc. 130) and grants in part and denies in

part Plaintiff’s Motion for Summary Judgment Against Defendant Nerium International, LLC’s

Counter[c]laims (Doc. 115). Specifically, the court grants Defendants’ motion for partial

summary judgment as to Plaintiff’s federal and state law claims. The court denies Plaintiff’s

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motion for summary judgment with respect to Nerium’s counterclaims under the Defend Trades

Secret Act (“DTSA”) and Texas Uniform Trade Secrets Act (“TUTSA”); its state common law

claims for breaches of fiduciary duty and duty of loyalty, and conversion; and declaratory

judgment of no copyright infringement and invalidity. The court grants Plaintiff’s motion for

summary judgment with respect to Nerium’s counterclaim for declaratory judgment that it has

copyright ownership in the alleged works and denies it with respect to Nerium’s counterclaim for

declaratory judgment of no copyright infringement, copyright invalidity, and implied license.

I.       Factual and Procedural History

        Plaintiff Dennis Windsor (“Windsor” or “Plaintiff”) filed this action against Defendants

Nerium International, LLC (“Nerium”) and its sole manager and CEO, Jeff Olson (“Olson”)

(collectively, “Defendants”) on April 5, 2016, alleging state law claims and a federal copyright

claim that arise from Windsor’s participation in the development of Nerium, a multi-level

marketing company that sells anti-aging and wellness products. Plaintiff’s Third Amended

Complaint (“Third Amended Complaint”) specifically asserts claims against Defendants for

copyright infringement, breach of contract, fraudulent inducement, promissory estoppel, unjust

enrichment, and it also seeks declaratory and injunctive relief related to those claims.

         The operative, undisputed facts are as follows: Sometime in 2009, Olson recruited Windsor

to join him in developing a network marketing company that would later become Nerium. Nerium

launched commercial operations and began selling products on August 29, 2011. During the

development phase, Windsor worked as an independent contractor and, after Nerium launched, he

became an employee and held the position of Nerium’s first president. He was terminated on

March 30, 2016.




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       According to Windsor, Olson recruited him to develop the company by offering three terms

related to Windsor’s future compensation upon Nerium’s official launch: (1) a commission rate

that would correspond with a “top” position, later referred to within Nerium as “The Marketing

Group Three Star National Marketing Director – ID 10006”; (2) a 15% royalty on all back-office

subscription fees generated; (3) and a five percent equity ownership in Nerium with distributions.

Pl.’s Third Am. Compl., Doc. 19, ¶ 22; Pl.’s Resp., Doc. 130 at 37. In exchange, Windsor would

assist Olson in designing, running, and promoting the company. Windsor and Olson never

memorialized these alleged terms into a written agreement. Windsor contends that Defendants

have failed to pay him the compensation pursuant to these alleged terms and, therefore, breached

their alleged oral agreement. Pl.’s Third Am. Compl, Doc. 19, ¶ 23.

       Windsor further contends that, during the approximate two-year development of Nerium,

he “worked essentially by himself” designing, building, and launching Nerium, during which time

he created marketing material, a business model, and a compensation structure for its salesforce.

Pl.’s Third Am. Compl., Doc. 19, ¶ 8; Pl.’s Resp., Doc. 130 at 12. Windsor contends that he has a

copyright in the documents he created during this period and that Nerium is currently infringing

by using exact copies and derivatives of those works without his permission. Pl.’s Third Am.

Compl., Doc. 19, ¶ 27.

       Windsor’s Third Amended Complaint, filed July 27, 2016, lists ten specific works as the

basis for his copyright infringement claim. On January 11, 2019, Windsor filed a motion for leave

to file a fourth amended complaint that removed eight 1 of these works from his copyright

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  Windsor’s Motion for Leave to File Plaintiff’s Fourth Amended Complaint (Doc. 101) stated that he wished to
dismiss seven of the ten works. After comparing the Third Amended Complaint and proposed Fourth Amended
Complaint (Doc. 101-1), the court determines that Plaintiff sought to remove the following eight works from his
pleading: (1) Nerium MLM 3X3X10 Structured Distribution Model, (2) Nerium MLM Placement Suite, (3) Nerium
MLM 3URFREE Customer Acquisition Model, (4) Nerium MLM Business Launch Kit, (5) Nerium MLM Success
Planner, (6) Nerium MLM BackOffice Contents & Navigation, (7) Nerium MLM BackOffice Premium Services, and
(8) Nerium MLM Coaching Commissions. Compare Doc. 19, ¶ 27 with Doc. 101-1, ¶ 28. Moreover, in Plaintiff’s

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infringement claim on the basis that he had not received formal registration for them from the

United States Copyright Office. The court denied Windsor’s motion because he failed to move

under the applicable procedural rule and, moreover, good cause did not exist for the court to grant

his request at this stage of the now three-year-old litigation.

       Defendants now moves for judgment as a matter of law with respect to all of Windsor’s

state common law claims on the basis that they are barred by the statute of limitations and also

should be dismissed on the merits; moves for judgment as a matter of law on the merits of

Windsor’s copyright infringement claim; and moves for judgment as a matter of law on Windsor’s

claim for declaratory relief on the basis that it is duplicative of his copyright and contract claims

in that it seeks resolution of matters that will be resolved as part of the determination of those

claims.

       Windsor moves for a judgment as a matter of law on Nerium’s counterclaims, which assert

counterclaims under the Defend Trade Secrets Act (“DTSA”); Texas Uniform Trade Secrets Act

(“TUTSA”); declaratory judgments of copyright ownership, no copyright infringement, copyright

invalidity, and implied license; and state law common law claims for breaches of fiduciary duty

and duty of loyalty, and conversion.

II.       Summary Judgment Standard

          Summary judgment shall be granted when the record shows that there is no genuine dispute

as to any material fact and that the moving party is entitled to judgment as a matter of law. Fed.

R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986); Ragas v. Tennessee Gas

Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998). A dispute regarding a material fact is “genuine”

if the evidence is such that a reasonable jury could return a verdict in favor of the nonmoving party.


Response to Defendants’ Motion for Summary Judgment, he contends that his Motion for Leave sought to “drop[] the
eight Works which, to date, have not received registrations.” Doc. 130 at 50.

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Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). When ruling on a motion for summary

judgment, the court is required to view all facts and inferences in the light most favorable to the

nonmoving party and resolve all disputed facts in favor of the nonmoving party. Boudreaux v.

Swift Transp. Co., Inc., 402 F.3d 536, 540 (5th Cir. 2005). Further, a court “may not make

credibility determinations or weigh the evidence” in ruling on a motion for summary judgment.

Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000); Anderson, 477 U.S. at 254-

55.

       Once the moving party has made an initial showing that there is no evidence to support the

nonmoving party’s case, the party opposing the motion must come forward with competent

summary judgment evidence of the existence of a genuine dispute of material fact. Matsushita

Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 586 (1986). On the other hand, “if the movant

bears the burden of proof on an issue, either because he is the plaintiff or as a defendant he is

asserting an affirmative defense, he must establish beyond peradventure all of the essential

elements of the claim or defense to warrant judgment in his favor.” Fontenot v. Upjohn Co., 780

F.2d 1190, 1194 (5th Cir. 1986) (emphasis in original). “[When] the record taken as a whole could

not lead a rational trier of fact to find for the nonmoving party, there is no ‘genuine [dispute] for

trial.’” Matsushita, 475 U.S. at 587. (citation omitted). Mere conclusory allegations are not

competent summary judgment evidence, and thus are insufficient to defeat a motion for summary

judgment. Eason v. Thaler, 73 F.3d 1322, 1325 (5th Cir. 1996). Unsubstantiated assertions,

improbable inferences, and unsupported speculation are not competent summary judgment

evidence. See Forsyth v. Barr, 19 F.3d 1527, 1533 (5th Cir. 1994).

       The party opposing summary judgment is required to identify specific evidence in the

record and to articulate the precise manner in which that evidence supports his or her claim. Ragas,



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136 F.3d at 458. Rule 56 does not impose a duty on the court to “sift through the record in search

of evidence” to support the nonmovant’s opposition to the motion for summary judgment. Id.; see

also Skotak v. Tenneco Resins, Inc., 953 F.2d 909, 915-16 & n.7 (5th Cir. 1992). “Only disputes

over facts that might affect the outcome of the suit under the governing laws will properly preclude

the entry of summary judgment.” Anderson, 477 U.S. at 248. Disputed fact issues that are

“irrelevant and unnecessary” will not be considered by a court in ruling on a summary judgment

motion. Id. If the nonmoving party fails to make a showing sufficient to establish the existence of

an element essential to its case and on which it will bear the burden of proof at trial, summary

judgment must be granted. Celotex, 477 U.S. at 322-23.

III.      Analysis

       A. Windsor’s Copyright Infringement Claim

          Defendants contend that that they are entitled to summary judgment on Windsor’s

copyright infringement claim on several grounds. First, with respect to the “Compensation Plan”

and “Roadmap to Success,” Defendants challenge the validity of the copyright registrations that

Windsor obtained for these works. They further contend that Windsor has failed to set forth

evidence that these works are sufficiently original and thus protectable under copyright law on the

basis that the works contain functional elements or ideas. Defendants further contend that Windsor,

even if he could identify copyrightable elements of his works, has failed to set forth evidence of

infringing works that are substantially similar to those allegedly copyrightable elements.

Defendants also raise an estoppel defense as it relates to the “Compensation Plan.” With respect

to the remaining eight works alleged in Windsor’s complaint, Defendants contend that they are

entitled to judgment as a matter of law because Windsor admitted that he did not obtain copyright

registrations for these works.



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       1.      Copyright Infringement

       To bring an infringement action, a party must first register his or her work with the

Copyright Office. 17 U.S.C. § 411(a). “A certificate of registration, if timely obtained [before or

within five years after first publication of the work], is prima facie evidence both that a copyright

is valid and that the registrant owns the copyright.” General Universal Sys. v. Lee, 379 F.3d 131,

141 (5th Cir. 2004); see § 17 U.S.C. §410(c). “However, certificates create only a rebuttable

presumption that the copyrights are valid.” Norma Ribbon & Trimming, Inc. v. Little, 51 F.3d 45,

47 (5th Cir. 1995).

       To establish a claim for copyright infringement, a plaintiff must prove that: (1) he or she

owns a valid copyright and (2) the defendant copied constituent elements of the plaintiff’s work

that are original. Positive Black Talk Inc. v. Cash Money Records Inc., 394 F.3d 357, 367 (5th Cir.

2004) (citing General Universal Sys., 379 F.3d at 141). With respect to the first element,

“[c]opyright ownership is shown by proof of originality and copyrightability in the work as a whole

and by compliance with applicable statutory formalities.” Eng’g Dynamics v. Structural Software,

Inc., 26 F.3d 1335, 1340 (5th Cir. 1994).

       To establish the second element, a plaintiff must prove: (1) factual copying and (2)

substantial similarity. Bridgmon v. Array Sys. Corp., 325 F.3d 572, 576 (5th Cir. 2003). To assess

substantial similarity, “a side-by-side comparison must be made between the original and the copy

to determine whether a layman would view the two works as substantially similar.” Nola Spice

Designs, L.L.C. v. Haydel Enterprises, Inc., 783 F.3d 527, 550 (5th Cir. 2015) (internal quotation

marks and citation omitted). “However, where the copyrighted work contains unprotectable

elements, the first step is to distinguish between protectable and unprotectable elements of the

copyrighted work.” Id. (citations omitted). “The next inquiry is whether the allegedly infringing



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works bears a substantial similarity to the protectable aspects of the original work.” Id. (citations

omitted).

        2.     “Compensation Plan”

        Defendants contend that they should be granted summary judgment on Windsor’s

copyright claim as to the “Compensation Plan” for three reasons: (1) Windsor cannot meet his

burden of proving he owns a valid and enforceable copyright, (2) Windsor cannot meet his burden

of proving “substantial similarity” between his alleged copyrighted work and any infringing work,

and (3) Windsor is estopped from pursuing his claim. The court determines that Windsor has not

established, or raised a genuine dispute of material fact, that he has a valid and enforceable

copyright in the “Compensation Plan” and limits its discussion to this issue.

       Defendants first argue that Windsor bears the burden of establishing he has a valid and

enforceable copyright in the “Compensation Plan” because his copyright registration in this work

was not made “before or within five years after first publication of the work” and is, therefore, not

entitled to the benefit of a prima facie finding of validity afforded under the statute. See 17 U.S.C.

§ 410(c). (“In any judicial proceeding the certificate of a registration made before or within five

years after first publication of the work shall constitute prima facie evidence of the validity of the

copyright and of the facts stated in the certificate.”). The certificate of registration for the

“Compensation Plan” shows that the work was published on March 11, 2011, and the application

was filed more than five years later on April 2, 2016. Defs.’ App., Doc. 112 at 379. Defendants

contend that Windsor, on the final day of discovery, produced an application for supplementary

registration of the “Compensation Plan” seeking to convert the application to “unpublished,” but

Windsor has not subsequently produced evidence that the application was granted. In Windsor’s

Response, he states that he has “since amended [the registration for the “Compensation Plan”] with



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a Supplemental Registration converting it to a registration for an unpublished Work and filed a

new application to register the published version,” and cites to a span of fifty pages in his Appendix

as proof of his contention. Pl.’s Resp., Doc. 130 at 50 n.120 (citing Pl.’s App., Doc. 131 at 160-

210). After reviewing these fifty pages—several of which do not pertain to the “Compensation

Plan”—the court finds no evidence that Windsor received a Supplementary Registration that

would rebut Defendants’ argument that his original registration, containing the March 11, 2011

publication date and April 2, 2016 registration date, effectively deprives him of the benefit of the

rebuttable presumption of prima facie validity under 17 U.S.C. § 410(c). In the absence of any

competent rebuttal evidence, the court accepts Defendants’ argument that Windsor is not entitled

to the presumption of prima facie validity for the “Compensation Plan” because he did not obtain

a timely certification of registration for it.

        Windsor, therefore, bears the burden of establishing that he has a valid copyright in the

“Compensation Plan,” which is shown “by proof of originality and copyrightability in the work as

a whole and by compliance with applicable statutory formalities.” Eng’g Dynamics, 26 F.3d at

1340. Originality requires “that the work was independently created by the author (as opposed to

copied from other works), and that it possesses at least some minimal degree of creativity.” Feist

Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991) (citation omitted). By the plain

terms of the statute, “[i]n no case” does copyright protection extend to any “idea, procedure,

process, system, method of operation, concept, principle, or discovery, regardless of the form in

which it is described, explained, illustrated, or embodied[.]” 17 U.S.C. § 102(b).

        Defendants argue that the “Compensation Plan” does not meet the originality requirement

because it is a “draft spreadsheet containing formulas for compensating participants in a multi-

level marketing system and a chart listing products, prices, and printed materials for a number of



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other multi-level marketing companies (apparently copied from other sources).” Defs.’ Mot. for

Partial Summ. J., Doc. 113 at 48. Defendants further argue that the “Compensation Plan” is

unoriginal based on evidence that it was copied from a compensation plan by another networking

company Visalus, which Windsor consulted when creating the plan for Nerium. Defs.’ Mot. for

Partial Summ. J., Doc. 113 at 44-45 (citing Defs.’ App., Doc. 112 at 51-52, 117, and 243).

       Defendants argue that the only evidence Windsor has set forth regarding the protectable

elements of the “Compensation Plan” is his response to Interrogatory No. 7(c), wherein he

identified the protectable elements of the work:

                       With respect to DennisWindsorMLMPayPlan03112011-
               Registration Number: TX0008172978, the protected elements
               Plaintiff claims include, but are not limited to, the following: (1) the
               name “Brand Partner Compensation Plan”; (2) the slogan
               “Rewarding, Easy, Advantageous and Lucrative”; (3) “Relationship
               Marketing” (you, your team, your preferred customers); (4) “Fast
               Start Qualified”; (5) “Personal Customer’s Commissions”; (6)
               “3UR Free”; (7) “Success Pack Bonus”; (8) “Weekly Promoter’s
               Pool”; (9) “Senior Director Bonus”; (10) “Coaching Commissions”;
               (11) “Success Pack Differential Bonus”; (12) “Marketing Director
               Pool”; (13) “Team Commissions”; (14) Leadership Development
               Bonus”; (15) “Special Promotions”; (16) “Executive Director Trip”;
               (17) “Brand Partner Ranking”; (18) “Team Structure”; (19)
               “Sponsor Tree”; (20) “Placement Tree”; (21) “First Order Bonus”;
               and (22) “Unilevel Commissions”. In addition to the above, Plaintiff
               also claims protection for the fonts, colors, arrangement of text and
               graphics within this registered work.

Defs.’ App., Doc. 112 at 267. Defendants contend that, of these twenty-two textual phrases

asserted by Windsor as the copyrightable elements of the “Compensation Plan,” only five appear

in the work: (1) “Personal Customer Commissions,” (2) “Leadership Development Bonus”; (3)

“Sponsor Tree”; (4) “First Order Bonus”; and (5) “Unilevel Commissions.” Defs.’ Mot. for Partial

Summ. J., Doc. 113 at 44 (comparing Certified Copy of Deposit for Compensation Plan, Defs.’

App., Doc. 112 at 378, 400-01, with Am. Interrog. Resp. No. 7(c), Defs.’ App., Doc. 112 at 267).



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Defendants argue that these five textual phrases appearing in the work are ineligible for copyright

protection because they are expressions that are “dictated solely at functional considerations.”

Defs.’ Mot. for Partial Summ. J., Doc. 113 at 45 (quoting CMM Cable Rep, Inc. v. Ocean Coast

Props., Inc., 97 F.3d 1504, 1519 (1st Cir. 1996)). Defendants cite CMM Cable Rep for its holding

that “copyright law denies protection to fragmentary words and phrases and to forms of expression

dictated solely at functional considerations on the grounds that these materials do not exhibit the

minimal level of creativity necessary to warrant copyright protection.” 97 F.3d at 1519 (internal

quotation marks and citations omitted). Defendants contend that phrases in the “Compensation

Plan” such as “First Order Bonus” are functional in that they define a compensation system and

information contained therein and, therefore, are unoriginal and ineligible for copyright protection.

       With respect to that portion of Windsor’s interrogatory response claiming protection for

“the fonts, colors, arrangement of text and graphics within this registered work,” on March 12,

2019, United States Magistrate Judge David L. Horan (“Judge Horan”) ruled on Defendants’

Motion to Exclude Evidence based on Plaintiff’s Late-Supplemented Response to Nerium’s

Interrogatory 7(c) and determined that Windsor:

               is prohibited from introducing evidence relating to his untimely
               contentions regarding the protectable elements of his “Copyrighted
               Work Product” – specifically, the claims of “protection for the fonts,
               colors, arrangement of text and graphics within [each] registered
               work” listed in his January 14, 2019 supplemental answer to
               Interrogatory No. 7(c) – in support of any motion or at any hearing
               or the trial of this case.

ECF Doc. 139 (Electronic Order). Judge Horan determined that this portion of Windsor’s answer

was supplemented to his answer on the discovery cutoff date, and, therefore, he failed to timely

supplement as required by Federal Rule of Civil Procedure Rule 26(e). Windsor did not appeal

this order to the district court within the 14-day period permitted under Federal Rule of Civil



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Procedure 72(a). Windsor has accordingly waived his right to appeal the order, and Judge Horan’s

ruling is the law of the case with respect to this issue. Accordingly, in determining the protectable

elements of the “Compensation Plan” asserted by Plaintiff, the court may not consider “the fonts,

colors, [and] arrangement of text and graphics” within the work.

       In his Response, Windsor’s sole argument as to the copyrightability of the “Compensation

Plan” is that it is an original arrangement of data, which the court is foreclosed from considering

in light of Judge Horan’s order. See ECF Doc. 139 (“Windsor is prohibited from introducing

evidence relating to his untimely contentions regarding the protectable elements of his

“Copyrighted Work Product” – specifically, the claims of ‘protection for the . . . arrangement of

text and graphics within [each] registered work.’”) (emphasis added). Windsor contends that the

“Compensation Plan” is original pursuant to Feist, in which the Supreme Court held that a factual

compilation may possess the requisite originality to receive copyright protection if the “choices as

to selection and arrangement” of the collected data entails a “minimal degree of creativity.” Feist,

499 U.S., at 348. Windsor argues that the “Compensation Plan” contains “copyrightable

expression embodied in Windsor’s selection, coordination and arrangement” of the data contained

therein. Pl.’s Resp., Doc. 130 at 54. He argues that Defendants copied the “textual instructions and

checklists,” “graphics and the selection and arrangement of the materials presented.” Pl.’s Resp.,

Doc. 130 at 54. Windsor does not respond to Defendants’ argument that the textual elements in

the “Compensation Plan” are not copyrightable because they are fragmentary, functional phrases

considered unoriginal under copyright law.

       The court determines that Windsor has failed to meet his burden of establishing that he has

a valid and enforceable copyright in the “Compensation Plan,” as required under the first element

for asserting a copyright infringement claim. As the court previously discussed, Windsor bears the



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burden of establishing that the work is copyrightable because the copyright registration for this

work shows that it was not timely procured pursuant to 17 U.S.C. § 410(c) and, therefore, is not

entitled to a prima facie finding of validity. Windsor has not set forth any evidence that the

“Compensation Plan” bears the minimal degree of creativity required for copyright protection.

Windsor makes a conclusory argument that the “Compensation Plan” is an original factual

compilation. Notwithstanding Judge Horan’s order precluding Windsor from arguing that he has

a copyright in the “Compensation Plan” based on its arrangement of text and graphics, Windsor

fails to explain the basis for his assertion that the selection, placement, and arrangement of the

information in the “Compensation Plan” is sufficiently original. The court’s review of the

“Compensation Plan” leads it to conclude that it contains an unoriginal spreadsheet of rows and

columns with textual description and numerical percentages, lacking any graphics and featuring

information relating to commissions and bonuses that correspond to various Nerium “brand

partner” rankings. Defs.’ App., Doc. 112 at 400-402. 2

         The only other summary judgment evidence regarding the copyrightable elements of the

“Compensation Plan” is Windsor’s answer to Interrogatory No. 7(c), wherein he lists five short,


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  The court notes that, in reviewing the “Compensation Plan,” it relied on the spreadsheet in Defendants’ Appendix
because this is the only competent summary judgment evidence of this work in the record. Defendants properly
authenticated this work through the Declaration of Lance Henderson, in which he states that Exhibit I (containing the
“Compensation Plan” work) is a “true and correct cop[y] of certified documents received by Nerium’s counsel from
the United States Copyright Office” for the work “DennisWindsorPayPlan03112011,” which is the title Windsor used
to register the “Compensation Plan” work. Defs.’ App., Doc. 112 at 378, ¶ 5. Windsor failed to produce any competent
summary judgment evidence of the “Compensation Plan” because he did not properly authenticate the document cited
to in his Appendix as constituting the work. Pl.’s App., Doc. 131 at 151. Unauthenticated documents are improper as
summary judgment evidence. King v. Dogan, 31 F.3d 344, 346 (5th Cir. 1994). To authenticate public records such
as certificate and copyright registration deposit materials, Windsor could provide “testimony that a matter is what it
is claimed to be or evidence that the certificates and deposit materials are obtained from the Copyright Office”.
Interplan Architects, Inc. v. C.L. Thomas, Inc., No. 4:08-CV-03181, 2010 WL 4366990, at *8 (S.D. Tex. Oct. 27,
2010) (citing Fed. R. Evid. 901(b)(1) and 901(b)(7)). While the certificate of registration itself bearing the Copyright
Office’s seal may be self-authenticating, Windsor has failed to provide evidence, such as a sworn declaration, that the
accompanying work is a true and correct copy of the deposit that he submitted to obtain the registration. Windsor has
accordingly failed to provide competent summary judgment evidence of the work, and the court will rely on the copy
produced by Defendants. Moreover, Windsor does not contest the authenticity of the “Compensation Plan” work relied
upon by Defendants in their motion for partial summary judgment.

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textual phrases that appear in the “Compensation Plan”: (1) “Personal Customer Commissions,”

(2) “Leadership Development Bonus”; (3) “Sponsor Tree”; (4) “First Order Bonus”; and (5)

“Unilevel Commissions.” “The Copyright Act, [however], does not protect fragmentary words or

short phrases.” Taylor v. IBM, 54 F. App’x. 794 (5th Cir. 2002) (citing 37 C.F.R.§ 202.1(a) and

CMM Cable Rep, Inc., 97 F.3d at 1519-20) (dismissing a copyright infringement claim in part

because the short phrase “pre paid cash card” featured in the copyright registration deposit was not

subject to copyright protection). Windsor is not entitled as a matter of law to a valid and

enforceable copyright in the fragmentary phrases that are listed in his response to Interrogatory

No. 7(c) and that appear in the “Compensation Plan” spreadsheet.

       As Windsor has failed to set forth evidence to raise a genuine dispute of material fact that

the “Compensation Plan” is copyrightable, the court need not reach the second element regarding

the substantial similarity between the “Compensation Plan” and Nerium’s allegedly infringing

work, an analysis which focuses on the protectable elements of the infringed work. As there is no

evidence establishing that protectable elements exist in the “Compensation Plan,” Defendants are

entitled to judgment as a matter of law on Windsor’s copyright infringement claim with respect to

this work.

       3.      “Roadmap to Success”

       Defendants argue that the court should grant them judgment as a matter of law on

Windsor’s copyright infringement claim based on the “Roadmap to Success” work for the

following reasons: (1) he did not plead a work “Roadmap to Success” in his complaint and instead

pleaded the work “MLM Roadmap to Lexus” for which he did not produce evidence of a copyright

registration; (2) the copyright registration for the work was obtained fraudulently and is, therefore,




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invalid; and (3) Windsor has failed to show substantial similarity between the alleged copyrighted

and infringing works.

       Defendants first contend that Windsor failed to plead the “Roadmap to Success” work

because “Roadmap to Success” does not appear as one of the ten listed works under his copyright

claim in the Third Amended Complaint. The Third Amended Complaint, rather, lists a work titled

“MLM Roadmap to Lexus.” Pl.’s Third Am. Compl., Doc. 19, ¶ 26. Defendants contend that

Windsor, through “slight of hand” in his proposed Fourth Amended Complaint (which the court

denied him leave to file), attempted to substitute a different registered work for what was originally

pleaded by pleading a work titled “RoadMap to Success (a/k/a Roadmap to Lexus).” See Doc. 101-

1 ¶ 27. Defendants contend that the copyright registration Windsor associates with the “Roadmap

to Success” bears a dissimilar title, “DennisWindsorRoadMaptoSuccess/Lexus,” which further

fails to correspond with the originally pleaded “MLM Roadmap to Lexus.”

       A complaint pleading a copyright infringement claim must satisfy only the minimal notice-

pleading requirements of Federal Rule of Civil Procedure 8 (“Rule 8”). Arista Records LLC v.

Greubel, 453 F. Supp. 2d 961, 965 (N.D. Tex. 2006) (citations omitted). Under Rule 8, a plaintiff

must provide a short and plain statement of the claim that gives the defendant fair notice of the

plaintiff’s claim and the grounds upon which it rests. Id. (citing Fed. R. Civ. P. 8(a)(2) and

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002)). “The simplified notice-pleading standard

relies on liberal discovery rules and summary-judgment motions to define the disputed facts and

issues and dispose of meritless claims.” Id. (citing Swierkiewicz, 534 U.S. at 512). In this case, the

court determines that Windsor’s Third Amended Complaint complied with Rule 8 by asserting

“MLM Roadmap to Lexus.” Defendants were sufficiently put on notice that Windsor intended to

assert that he had a copyright in a work he later referred to as “Roadmap to Success,” which he



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registered with the Copyright Office under the title “DennisWindsorRoadMaptoSuccess/Lexus,”

as evidenced by Defendants’ summary judgment briefing acknowledging the association of the

two titles with the work at issue. The court, accordingly, determines that “Roadmap to Success”

was sufficiently pleaded in light of the consistent use of the word “Roadmap” to refer to the work

at issue, and Defendants were put on fair notice that this work would be asserted by Windsor as

the basis for his copyright claim.

       Defendants next argue that the registration for “Roadmap to Success” was fraudulently

obtained and invalid. Defendants argue that an invalid registration cannot serve to create a

rebuttable presumption of validity for purposes of establishing the first element of a copyright

infringement claim. Defendants argue that an application for a copyright registration must include

a bona fide copy of the original work, and the copy cannot be a reconstruction, pursuant to the

registered deposit requirement set forth in Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1212

(9th Cir. 1998). See also Geoscan Inc. of Texas v. Geotrace Technologies, Inc., 226 F.3d 387, 393

(5th Cir. 2000) (adopting the registration deposit requirement set forth in Kodadek). Defendants

contend that, here, Windsor’s copyright deposit is a 2016 fabrication rather than a bona fide copy

of a 2011 original. Defendants rely on a document produced by Windsor in discovery that differs

from the “Roadmap to Success” deposit submitted to the Copyright Office in that it: (1) features

text in the margin communicating edits that need to be made, (2) uses the company name “Nerium”

rather than “NewCo,” and (3) has images of BMW automobiles. Defs.’ Mot. for Partial Summ. J.,

Doc. 113 at 55 (citing Defs.’ App., Doc. 112 at 386-87). Defendants also rely on an e-mail sent on

August 4, 2016, from Dennis Windsor to Brenda Gibson, in which Ms. Gibson writes, “Here is

the revised RoadMap to Success, taking out the edit notes and deleting the car information,” to

which he replies, “Change Nerium to NewCo on doc-Top left corner.” Defs.’ App., Doc. 112 at



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417. As Windsor’s Response fails to address or rebut these factual assertions regarding edits made

in 2016 prior to the submission of the deposit, the court takes them as true. The court determines,

however, that Defendants have not sufficiently demonstrated that Windsor committed fraud on the

United States Copyright Office, which involves a showing that the registrant knowingly made

material edits for the purpose of deceiving the Copyright Office. See One Treasure Ltd., Inc. v.

Richardson, 202 F. App’x 658, 661 (5th Cir. 2006) (holding that “immaterial, inadvertent errors

in an application for copyright registration do not jeopardize the registration[’]s validity,” but those

that do invalidate a registration are made “intentional[ly] for the purpose of deceiving the

Copyright Office”); see also R. Ready Productions, Inc. v. Cantrell, 85 F. Supp. 2d 672, 691 (S.D.

Tex. 2000). Defendants have not set forth sufficient evidence to show that the deletions from the

purported 2016 document are material or that they were made with a deceptive intent. Defendants

further have not persuaded the court that the deposit submitted with the application was a

“reconstruction” of the original “Roadmap to Success” diagram, irrespective of the edits made in

2016. The “reconstructions” considered in the cases cited by Defendants involved a deposit that

was wholly recreated, without reference to the original. Kodadek, 152 F.3d at 1212 (in which the

registrant submitted a deposit of drawings which were made from his memory of the original

drawings and not made by “directly referring to the originals or bona fide copies of the originals”);

Seiler v. Lucasfilm, Ltd., 808 F.2d 1316, 1322 (9th Cir. 1986) (determining the copyright

registration was not proof of validity because the deposit was a reconstruction and the registrant

had failed to show that the reconstructions were “virtually identical” to those originals). Although

Defendants have demonstrated that certain edits were made, there is insufficient evidence that the

deposit was a total reconstruction of the “Roadmap to Success” diagram, without reference to the

original. Taken in the light most favorable to Windsor, the court reasonably infers that the



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“Roadmap to Success” diagram for which Windsor obtained a copyright looks virtually identical

to the diagram featured in the 2011 original documents, irrespective of a few immaterial changes

that do not bear on the copyrightability of the work. The court, therefore, determines that the

copyright registration creates a rebuttable presumption of validity and turns next to whether

Defendants have sufficiently rebutted that presumption to be entitled to summary judgment as to

this work.

       Defendants argue that Windsor has failed to produce evidence that there are copyrightable

elements in the “Roadmap to Success” work. Defendants specifically contend that Windsor’s

response to Interrogatory No. 7(c) asserts copyright protection in elements of the “Roadmap to

Success” that are not protectable:

               (1) Entire Road to Lexus (Success) program [See Exhibit “A”]; (2)
               “Fast Start Qualify – First 30 Days”; (2) “Qualify As Director – First
               60 Days”; (3) “Qualify As Sr. Director – First 90 Days”. In addition
               to the above, Plaintiff also claims protection for the fonts, colors,
               arrangement of text and graphics within this registered work.

Defs.’ Resp., Doc. 112 at 268. Defendants argue that “Entire Road to Lexus (Success) program”

is an uncopyrightable idea, and the remaining textual elements—“Fast Start Qualify – First 30

Days,” “Qualify As Director – First 60 Days,” and “Qualify as Sr. Director – First 90 Days” are

unoriginal and unprotectable short phrases. Defs.’ Mot. for Partial Summ. J., Doc. 113 at 56. As

noted previously, Windsor is foreclosed from seeking copyright protection in the “fonts, colors,

arrangement of text and graphics” within the “Roadmap to Success” in light of Judge Horan’s

ruling on this issue, which Windsor did not appeal.

       In his Response, Windsor wholly fails to respond to Defendants’ argument that the

“Roadmap to Success” program itself is an uncopyrightable idea and that the remaining alleged

elements, such as “Fast Start Qualify – First 30 Days,” are unoriginal and unprotectable short



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phrases. Aside from inviting the court to review the “Roadmap to Success,” Windsor does not set

forth any argument as to copyrightability of the specific elements of the work to address

Defendant’s challenge to the presumption of validity afforded to the work’s registration. When a

plaintiff fails to defend a claim in response to a motion to dismiss or summary judgment motion,

the claim is deemed abandoned. See Black v. Panola Sch. Dist., 461 F.3d 584, 588 n.1 (5th Cir.

2006) (concluding that the plaintiff abandoned her retaliatory abandonment claim when she failed

to defend the claim in response to a motion to dismiss); Hargrave v. Fibreboard Corp., 710 F.2d

1154, 1164 (5th Cir. 1983) (explaining that a plaintiff, “in his opposition to a motion for summary

judgment cannot abandon an issue and then . . . by drawing on the pleadings resurrect the

abandoned issue.”). The court accordingly determines that Windsor has abandoned the issue of

whether he has a valid and enforceable copyright in the “Roadmap to Success” work.

       The court, moreover, agrees with Defendants that the elements asserted by Windsor as the

copyrightable elements of “Roadmap to Success” are not subject to copyright protection. In the

response to Interrogatory No. 7(c), Windsor first asserts that he has a copyright in the “Entire Road

to Lexus (Success) program”—but he does not elaborate in his Response or provide evidence as

to what constitutes such program. Nevertheless, in reviewing the “Roadmap to Success,” the court

reasonably infers that the “program” to which Windsor refers is the multi-level marketing business

model and how a brand partner can earn commissions, bonuses, and other rewards, and gain status

within the company over a certain amount of time (30 days, 60 days, 90 days) through establishing

connections with other brand partners. As noted by Defendants, the business model of a multi-

level marketing scheme is not protectable under copyright law. See 17 U.S.C. § 102(b) (“In no

case does copyright protection for an original work of authorship extend to any idea, procedure,




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process, system, method of operation, concept, principle, or discovery, regardless of the form in

which it is described, explained, illustrated, or embodied in such work.”).

       The remaining alleged protected elements that Windsor has identified are the phrases: (1)

“Fast Start Qualify – First 30 Days,” (2) “Qualify as Director – First 60 Days”; and (3) “Qualify

as Sr. Director – First 90 Days.” See Defs.’ App., Doc. 112 at 268. These phrases are featured in

“Roadmap to Success” as what appear to be three steps to qualifying for certain promotional

statuses as a brand partner and earning corresponding rewards over periods of time (30 days, 60

days, 90 days). These are “fragmentary words and phrases . . . dictated solely at functional

considerations” and do not exhibit “the minimal level of creativity necessary to warrant copyright

protection.” CMM Cable Rep, Inc. 97 F.3d at 1519 (citations and internal quotation marks

omitted). Windsor’s response fails to address this flaw or identify any other specific protectable

elements of the “Roadmap to Success” that the court should consider. Accordingly, the court

determines that Defendants have rebutted the presumption of validity afforded to the copyright

registration in “Roadmap to Success” and Windsor has failed to raise a genuine dispute of material

fact that he owns a valid and enforceable copyright in the work. Defendants are accordingly

entitled to judgment as a matter of law as to this work.

       4.      Remaining Eight Alleged Works

       Defendants argue that they are entitled to judgment as a matter of law as to the remaining

alleged copyrighted works in Windsor’s Third Amended Complaint because Windsor cannot prove

ownership of a valid copyright in any of these works. The court agrees. Windsor has acknowledged

that he did not obtain copyright registrations in these remaining works. See Pl.’s Mot. for Leave,

Doc. 101 at 1 (seeking leave to remove the remaining works from his Third Amended Complaint

because he has not received formal registration of these works from the Copyright Office). To



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bring an infringement action, a party must first register his or her work with the Copyright Office.

See 17 U.S.C. § 411(a). As Windsor has failed to meet this statutory prerequisite for filing a

copyright infringement claim, there is no genuine dispute of material fact regarding whether he is

entitled to bring a copyright infringement claim as to these remaining works, and Defendants are

entitled to judgment as a matter of law as to them.

    B. Supplemental Jurisdiction over Plaintiff’s State Law Claims

        Having granted summary judgment in favor of Defendants on Windsor’s federal copyright

claim and determining that it is to be dismissed, Plaintiff’s state law claims for breach of contract,

common law fraud, promissory estoppel, and unjust enrichment remain As there are no federal

claims in this action, the court must determine whether to exercise supplemental jurisdiction over

these state law claims.

        Although the court can exercise supplemental jurisdiction over state law claims under 28

U.S.C. § 1367(a) “when all federal claims are dismissed or otherwise eliminated from a case prior

to trial, [the Fifth Circuit has] stated that [its] ‘general rule’ is to decline to exercise jurisdiction

over the pendent state law claims.” McClelland v. Gronwaldt, 155 F.3d 507, 519 (5th Cir. 1998)

(citing Wong v. Stripling, 881 F.2d 200, 204 (5th Cir. 1989)), overruled on other grounds by Arana

v. Ochsner Health Plan, 338 F.3d 433, 440 (5th Cir. 2003); see Parker & Parsley Petroleum Co.

v. Dresser Indus., 972 F.2d 580, 585 (5th Cir. 1992). To determine whether to exercise jurisdiction,

the court balances “the statutory factors set forth by 28 U.S.C. § 1367(c),” “the common law factors

of judicial economy, convenience, fairness, and comity,” and the threat of “improper forum

manipulation.” Enochs v. Lampasas Cty., 641 F.3d 155, 159 (5th Cir. 2011). The statutory factors

are “(1) whether the state claims raise novel or complex issues of state law; (2) whether the state

claims substantially predominate over the federal claims; (3) whether the federal claims have been



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dismissed; and (4) whether there are exceptional circumstances or other compelling reasons for

declining jurisdiction.” Id. (citing 28 U.S.C. § 1367(c)). 3

         In determining whether the district court abused its discretion when deciding whether to

exercise supplemental jurisdiction, the Fifth Circuit has considered the amount of time elapsed in

the litigation, the length of time remaining until trial, and the amount of discovery completed. See,

e.g., Smith v. Amedisys, Inc., 298 F.3d 434, 447 (5th Cir. 2002) (common law factors favor

retaining jurisdiction where “[t]he instant case has been pending for almost three years, the parties

have taken numerous depositions, and the matter had progressed to the advanced stages of

litigation with little left to do before trial”); see also Doddy v. Oxy USA, Inc., 101 F.3d 448, 456

(5th Cir. 1996) (finding abuse of discretion where case was dismissed less than one month before

trial after two years of litigation, over 300 pleadings, and extensive discovery taken under federal

rules). The Fifth Circuit has noted that the “case law is clear that when a district court declines to

exercise jurisdiction over remaining state law claims following the dismissal of all federal-law

claims and remands a suit after investing a significant amount of judicial resources . . . that court

has abused its discretion under 28 U.S.C. § 1367.” Brookshire Bros. Holding, Inc. v. Dayco

Products, Inc., 554 F.3d 595, 602 (5th Cir. 2009) (citations omitted).

         The court determines that the statutory and common law factors weigh in favor of

exercising supplemental jurisdiction. With respect to the statutory factors, although the federal

claim has been dismissed and the state law claims do predominate over the federal claim, the court



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  “These interests are to be considered on a case-by-case basis, and no single factor is dispositive.” Mendoza v.
Murphy, 532 F.3d 342, 346 (5th Cir. 2008) (internal citation omitted). “The overall balance of the statutory
factors is important.” Enochs, 641 F.3d at 159. In Enochs, the court erroneously cites 28 U.S.C. § 1367(c). The
statute has the conjunction “or” between the third and fourth factors therein, whereas, Enochs uses the
conjunction “and,” making it appear that the statute requires the presence of all four factors. The statute makes
clear that any of the four factors can serve as an independent basis for the district court to decline to exercise
supplemental jurisdiction over the state law claims. Despite the clear language of the statute, the court
reluctantly follows Enochs.

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does not believe that the state law claims present novel or complex issues of law or that exceptional

circumstances exist to decline to exercise jurisdiction. With respect to the common law factors,

the court finds that, at this late juncture of the proceedings, considerations of judicial economy,

convenience, and fairness weigh in favor of retaining jurisdiction. The action has been pending in

this court for three years and is set for trial on June 3, 2019. The parties have completed discovery,

and each filed thorough motions for summary judgment. Several discovery disputes have been

resolved by the magistrate judge, and the court recently resolved several motions that related to

pretrial matters, including a motion to file a fourth amended complaint and is currently addressing

detailed summary judgment motions. The court is familiar with the merits of the case and does not

believe that judicial economy would be served by remanding this action to a state court judge to

begin anew with the issues relevant to the remaining state law claims.

       The court thus concludes that the statutory and common law factors collectively weigh in

favor of exercising supplemental jurisdiction over Windsor’s state-law claims. The court now

addresses the motions for summary judgment with respect to these claims.

       C.       Windsor’s Breach of Contract Claim

       Windsor contends that, in “the early spring of 2009,” Olson approached him with an offer

to hire him as an independent contractor to help develop, run, and promote two new network

marketing companies. Pl.’s Third Am. Compl., Doc. 19, ¶ 8. Windsor contends that Olson offered

him the following terms: (1) a commission rate that corresponds with the position known at Nerium

as “The Marketing Group Three Star National Marketing Director – ID 10006”; (2) a 15% royalty

on all back-office subscription fees generated; (3) and a five percent equity ownership in Nerium

with distributions. Pl.’s Third Am. Compl., Doc. 19, ¶ 22; Pl.’s Resp., Doc. 130 at 37 (citing

Windsor’s Depo., Pl.’s App., Doc. 131 at 22-24) . Windsor contends that, in exchange for this



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compensation, he promised to: “work[] diligently to create and develop Defendant Nerium’s

company and business model, to grow Defendant Nerium’s global business and distribution

network, to develop and promote the Nerium Edge Monthly Subscription program/system, and

[to] creat[e] Plaintiff’s Copyrighted Work Product[.]” Pl.’s Third Am. Compl., Doc. 19, ¶ 22.

Windsor contends that he fully performed these obligations, and Defendants have since failed to

pay him pursuant to the contract’s terms. Windsor contends that, by failing to make periodic

payments and distributions, Defendants have committed multiple breaches of the contract that

occurred “from April 5, 2012 to the present” and owe him damages in an amount of $21,125,000.

Pl.’s Third Am. Compl. Doc. 19, ¶ 23.

       The elements of a breach of contract claim under Texas law are: “(1) the existence of a

valid contract; (2) performance or tendered performance by the plaintiff; (3) breach of the contract

by the defendant; and (4) damages sustained by the plaintiff as a result of the breach.” Smith Int’l,

Inc. v. Egle Grp., LLC, 490 F.3d 380, 387 (5th Cir. 2007) (citation omitted). To be enforceable, a

contract must address all of its essential and material terms with ‘a reasonable degree of certainty

and definiteness.’” Fischer v. CTMI, L.L.C., 479 S.W.3d 231, 237 (Tex. 2016) (quoting Pace Corp.

v. Jackson, 155 Tex. 179, 284 (1955)). The court determines as a matter of law what the contract

requires of the parties. See Meek v. Bishop Peterson & Sharp, P.C., 919 S.W.2d 805, 808 (Tex.

App.—Houston [14th Dist.] 1996, writ denied). The agreement’s terms must be “sufficiently

definite to ‘enable a court to understand the parties’ obligations,’ and to give ‘an appropriate

remedy’ if they are breached.” Id. (citing Restatement (Second) of Contracts § 33(2) (1981)). If

the agreement is so indefinite as to make it impossible for the court to determine the legal

obligations of the parties, it is not enforceable. Shin-Con Dev. Corp. v. I.P. Invs. Ltd., 270 S.W.3d

759, 765 (Tex. App.—Dallas 2008, pet. denied) (citation omitted). “As a general matter, Texas



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courts have consistently held that a contract may be held void for indefiniteness if it fails to specify

‘the time of performance, the price to be paid, the work to be done, the service to be rendered, or

the property to be transferred.’” Liberto v. D.F. Stauffer Biscuit Co., Inc., 441 F.3d 318, 324 (5th

Cir. 2006) (quoting Engelman Irrigation Dist. v. Shields Bros., Inc., 960 S.W.2d 343, 352 (Tex.

App.—Corpus Christi 1997, pet. denied)).

       Defendants argue that Windsor’s breach of contract claim fails as a matter of law for three

reasons. First, Defendants argue that Windsor waived his rights under the alleged oral contract in

e-mail communications with Olson in 2013 and 2014. Second, Defendants argue that the alleged

oral agreement is unenforceable because it lacks consideration. Third, Defendants argue that the

alleged oral agreement is unenforceable because it fails to specify essential terms and is, therefore,

too indefinite. The court agrees with the third argument raised by Defendants and, therefore, it will

only address this argument relating to the unenforceability of the alleged oral agreement.

     Defendants contend that the alleged oral agreement fails to identify with sufficient certainty

the obligations owed by both parties. Defendants state that Windsor, in his sworn testimony, stated

that the agreement had “zero requirements from [him]” and his general obligation was to help

“build the company” as a co-founder. Defs.’ Mot. for Summ. J., Doc. 113 at 34-35. Defendants

cite Knowles v. Wright, 288 S.W.3d 136 (Tex. App.—Houston [1st Dist.] 2009, pet. denied), in

which a court considered an oral agreement for equity ownership in a gas drilling venture to be

legally indefinite when the plaintiff promised to provide “consulting work at a reduced rate” and

expend “best effort” to “[b]uild a business enterprise of which [he] would share half .” Id. at 143.

The court determined that these terms failed to identify “what specific services [were] actually

required of him.” Id. Defendants contend that, like the plaintiff in Knowles, Windsor allegedly




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promised to build a company with Olson, but the alleged oral contract failed to offer any specifics

about what exactly he was required to do in furtherance of that promise.

     Defendants also argue that the alleged oral contract fails to provide essential terms regarding

Defendants’ obligations owed to Windsor. The term promising Windsor five percent equity

ownership does not further “specify the type of entity, details of business ownership rights, where

this 5% must come from, or who the other business partners would be.” Defs.’ Mot. for Summ. J.,

Doc. 113 at 35. With respect to the term promising Windsor certain commissions, Defendants

contend that, at the time the alleged oral agreement was made in 2009, the parties “had not decided

on a compensation plan for the unformed company that would define the method of calculating

commissions.” Id. Defendants contend that an alleged oral agreement promising “maximum

commissions” when the compensation plan and method of calculating commissions have yet to be

determined is so vague as to render such an agreement indefinite and unenforceable. Id. (citing

Playoff Corp. v. Blackwell, 300 S.W.3d 451, 456-58 (Tex. App.—Fort Worth 2009, pet. denied)).

Defendants further contend that, in 2009, the parties had not yet planned which types of products

the company would sell and was evaluating a nutritional product called Forte rather than the

skincare products that Nerium now markets. Id.

     In response, Windsor argues as a preliminary matter that he is not suing on the initial

agreement made between the parties in 2009 but on a subsequent agreement made in the fall of

2010—a contention that is inconsistent with the oral agreement alleged in his pleadings and one

that has not been properly raised before the court. With respect to the obligations owed by the

parties under the alleged contract, Windsor cites to deposition testimony indicating that Olson told

various individuals about their “deal,” specifically that Windsor was an owner and founder of

Nerium and entitled to five percent equity in Nerium. Pl.’s Resp. Doc. 130 at 37-39. Windsor states



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that Nerium’s database reflected that Windsor was “the owner of the spot ID 10006” (which

corresponds with his allegation that he was promised commission as a “Marketing Group Three

Star National Marketing Director”). Pl.’s Resp., Doc. 130 at 13, 39. Windsor produces evidence

of a scanned copy of a handwritten note, authenticated by a sworn declaration, that he made during

a meeting with Nerium’s general counsel to “memorialize” the “original deal,” the contents of

which include jotted notes with deal points that the court is largely unable to ascertain. Pl.’s Resp.,

Doc. 130 at 40; Pl.’s App., Doc. 131 at 12, 18. Rather than elaborate on what the deal points entail,

or argue that they are sufficiently specific, Windsor states in conclusory fashion that “[t]he terms

of this oral contract, as set out in Windsor’s notes are sufficiently definite for the Court to

understand and apply.” Pl.’s Resp., Doc. 130 at 40.

     Without specifically identifying his obligations under the contract, Windsor argues that he

has “fully performed the obligations” because “Nerium was built, did launch, and was one of the

most successful and fastest growing MLM companies in history,” and Defendants “consistently

held Windsor out as a co-founder of Nerium.” Pl.’s Resp., Doc. 130 at 40-41 (citing Windsor

Depo., Pl.’s App., Doc. 131 at 40, lines 5-16). These are mere conclusory assertions that do not

identify which obligations Windsor was required to perform to become entitled to the

compensatory terms to which he believes he is owed. Windsor contends that this case is similar to

Ameristar Jet Charter, Inc. v. Cope, 2001 WL 950978, at *3-4 (Tex. App.—Dallas Aug. 22, 2001,

no pet.). That case, however, involves an appellate review of a directed verdict in favor of a

defendant on a breach of contract claim, which applies a scintilla of evidence standard and is not

on point. Id. at *1. Moreover, the court in that case reviewed a narrow argument by the plaintiff

regarding whether the contract, to be sufficiently definite, needed to include two specific terms

regarding repayment and an interest rate. Id. at *4. The court determined that the contract



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sufficiently set forth the repayment term and that an interest rate was not a material term required

to make the alleged contract sufficiently definite. Id. The court emphasized that “[e]ach contract

should be considered separately to determine its material terms.” Id. at *2.

     Windsor relies heavily on the recitation of three terms—the commission rate, entitlement to

a percentage of back-office royalties, and equity ownership—but provides very little evidence

about what he was he was required to do in his role as an independent contractor in developing

and launching Nerium. In his deposition testimony, when asked what he was required to perform

under the contract to receive the compensatory terms, Windsor stated, “I put my name on the line

and my reputation to start that company. That was what gave me everything. And there was no

performance required to get it, to keep it, to have it for the rest of my life. Zero performance

requested.” Defs.’ App., Doc. 112 at 41 (lines 20-25). When pressed further to explain “the

minimum that [he] needed to do to receive the top brand partner position, the equity[,] and the

back office revenue,” Windsor responded:

               So you’re asking me at what point, to clarify that. It’s when I agreed
               with Mr. Olson to accept his offer for us to join as partners and go
               build two great companies. The first company, where I would agree
               to that, that first company, was to run the company that he already
               had in place, PTN. In that same conversation, was to build the
               greatest company ever. So it was simply to join – to – to partner with
               him. There was no request ever of any performance. Did he ask me
               to do some things? I mean, that’s just conversation, hey, will you fix
               this brochure, will you go meet with da, da, da, will you go do this.
               Performance has to do with real specific guidelines and – and
               direction. Mr. Olson never gave me any direction.

Defs.’ App., Doc. 112 at 44 (lines 1-20). In response to a follow-up question, Windsor reiterated,

“Again, my agreement with Jeff Olson for Company No. 2, NEWCO, which became Nerium, had

zero requirements from me.” Defs.’ App., Doc. 112 at 45 (lines 6-8).




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      In light of these statements and the scant evidence produced by Windsor, the court is simply

unable to ascertain what legal obligations he was to perform. At the least, Windsor invariably states

there were “zero requirements” owed by him under the contract and at most, he states that he was

required to “put[] his reputation behind the company” and provide consulting services, including

designing, building, and launching Nerium. Pl.’s Resp., Doc. 130 at 10. These assertions are not

sufficiently definite terms to create an enforceable contract.

      The court further agrees with Defendants that Knowles is factually analogous and guides the

outcome in this case. 288 S.W.3d at 139. In Knowles, the parties orally agreed to build a gas drilling

company as a joint venture. Id. The defendant agreed to be the plaintiff’s partner in “build[ing] a

business,” providing “consulting work,” and “conceiving of the idea,” and promised all of his “best

effort” and “everything else, such as [his] blood, sweat, tears and anything else [he] could come

up with to get it done,” in exchange for 50% of the plaintiff’s interests in the business after he had

recovered costs. Id. at 139, 143. The trial court entered summary judgment in favor of the

defendant on the plaintiff’s breach of contract claim, on the basis that the oral contract was not

sufficiently definite. The court affirmed the trial court’s decision because the plaintiff “offered no

testimony as to what specific services the oral contract actually required of him” and this “lack of

definiteness” in regard to the work to be done and the services to be rendered was “fatal” to the

claim for breach of contract.” Id. at 143-44. The appellate court emphasized that the plaintiff “did

not offer evidence as to what exactly he was obligated to do and what specific services he was

required to provide . . . to build a business with [the defendant]—terms essential to the parties’

purported oral contract to build a business and ultimately sell the shares of that business for profit.”

Id. at 144 (citing Lamajak, Inc. v. Frazin, 230 S.W.3d 786, 793 (Tex. 2007)).




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     The court accordingly determines that Windsor has failed set forth evidence to raise a

genuine dispute of material fact that the terms of the alleged oral contract were sufficiently definite

to render the oral agreement enforceable. The court, therefore, determines that Defendants are

entitled to judgment as a matter of law on Windsor’s breach of contract claim.

   D. Windsor’s Fraud/Fraudulent Inducement Claim

       Windsor alleges that Olson made materially false representations with the specific intent

of recruiting him to leave his employer VideoPlus and inducing him into developing, promoting,

marketing, and building Nerium. Pl.’s Third Am. Compl., Doc. 19, ¶¶ 36-38. The allegedly false

representations to which Windsor refers are the payment of commissions, royaltyies from

subscription fees, and equity ownership. Id., ¶ 36. Windsor alleges that he acted in reliance on

Defendants’ false representations and material omissions and was “thereby induced into spending

years building Defendant Nerium’s brand” and, as a result, incurred damages of $21,125,000. Id.,

¶ 40. This estimation of damages is identical to that alleged under Windsor’s breach of contract

claim for his expectation damages resulting from the alleged breaches of the contract. Id., ¶ 24.

       Defendants argue that the court should dismiss Windsor’s claim for fraudulent inducement

because the parties failed to form a binding agreement, which is required to recover the type of

benefit-of-the-bargain damages that Windsor seeks. Defs.’ Mot. for Partial Summ. J., Doc. 113 at

36 (citing Haase v. Glazner, 62 S.W.3d 795, 798 (Tex. 2001)). Defendants argue that, in the

absence of an agreement, a plaintiff pleading fraud is limited to recovering out-of-pocket expenses,

which are measured by expenditures made in reliance on the purported fraud, less any value

received. Id. (citing Zorrilla v. Aypco Constr. II, LLC, 469 S.W.3d 143, 153 (Tex. 2015)).

Defendants contend that Windsor has not proffered any legal theory or evidence supporting the




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recovery of out-of-pocket expenses. Id. Defendants also argue that Windsor has failed to prove the

requisite element of deceptive intent. Id. at 37.

       In response, Windsor argues that Haase is inapplicable because in that case, the court

applied the statute of limitations in determining that the agreement was unenforceable. Pl.’s Resp.,

Doc. 130 at 43-44. Windsor argues that he is entitled to recover benefit-of-the-bargain damages

calculated based on what he would have earned pursuant to the alleged compensatory terms. Id. at

44. Windsor does not contest that he has failed to plead a legal theory or any evidence supporting

the recovery of out-of-pocket expenses. Windsor also argues that he has raised a genuine dispute

of material fact as to the issue of intent based on Olson’s failure to deliver the promises, his

subsequent denial of ever making those promises, and his actions in preventing Windsor from

seeing Nerium’s financials. Id. at 44-45.

       Under Texas law,

               Fraudulent inducement is a species of common-law fraud that shares
               the same basic elements: (1) a material misrepresentation, (2) made
               with knowledge of its falsity or asserted without knowledge of its
               truth, (3) made with the intention that it should be acted on by the
               other party, (4) which the other party relied on and (5) which caused
               injury. Fraudulent inducement is actionable when the
               misrepresentation is a false promise of future performance made
               with a present intent not to perform. Because fraudulent inducement
               arises only in the context of a contract, the existence of a contract is
               an essential part of its proof.

Anderson v. Durant, 550 S.W.3d 605, 614 (Tex. 2018) (citations omitted). In light of the court’s

ruling that no enforceable agreement was entered into by the parties, Windsor has failed to

establish an essential element of his fraudulent inducement claim. Contrary to Windsor’s assertion,

the requirement that a party pleading a fraudulent inducement claim must prove the existence of a

contract is not limited to cases that implicate the statute of frauds.




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       To the extent Windsor seeks to plead a fraud or misrepresentation claim, Windsor has also

failed to establish evidence of an essential element of that claim. A fraud cause of action requires

“a material misrepresentation, which was false, and which was either known to be false when made

or was asserted without knowledge of its truth, which was intended to be acted upon, which was

relied upon, and which caused injury.” Formosa Plastics Corp. USA v. Presidio Eng’rs &

Contractors, Inc., 960 S.W.2d 41, 48 (Tex. 1998). When a party seeks damages for common-law

fraud in the absence of an enforceable promise to perform, he or she is not available to benefit-of-

the bargain damages, which are measured by the difference between the value as represented and

the value received. Anderson, 550 S.W.3d at 614 (citations omitted). “[I]f there is a defect in

contract formation, the only potentially viable measure of fraud damages is the out-of-pocket

measure.” Zorrilla v. Aypco Construction II, LLC, 469 S.W.3d 143, 153 (Tex. 2015) (citing Haase,

62 S.W.3d at 799-800). As Windsor consistently maintains that he seeks damages based solely on

benefit-of-the-bargain damages, he has not set forth evidence to establish the essential element of

injury for a common law fraud claim, and, therefore, no genuine dispute of material fact exists

with respect to this claim. Also, as previously discussed, there is no genuine dispute of material

fact as to Windsor’s fraudulent inducement claim because he has failed to set forth evidence that

an agreement existed between the parties, which is an essential element of that claim. Accordingly,

Defendants are entitled to judgment as a matter of law on the fraud/fraudulent inducement claims.

   E. Windsor’s Promissory Estoppel Claim

       Likewise for his promissory estoppel claim, Windsor solely pleads benefit-of-the-bargain

damages of $21,125,000 that he contends he would have been owed under the alleged agreement.

Pl.’s Third Am. Compl., Doc. 19 at 19-20. Defendants argue that Texas law does not permit the

recovery of expectation damages in an action for promissory estoppel, which requires a plaintiff



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to plead reliance damages. Defs.’ Mot. for Summ. J., Doc. 113 at 39-40. Windsor fails to present

any argument or evidence in response. In the absence of any evidence that he suffered reliance

damages under a promissory estoppel theory of recovery, Windsor failed to raise a genuine dispute

of material fact that he is entitled to relief on this claim. Zenor v. El Paso Healthcare System, Ltd.,

176 F.3d 847, 865-66 (5th Cir. 1999) (“Under Texas law, only reliance damages are recoverable

for a promissory estoppel claim. . . .[C]ompensatory and expectancy interests [cannot] be

categorized as reliance damages.”) (citation omitted). As Windsor has failed to set forth evidence

that he is entitled to reliance damages, the court determines that Defendants are entitled to

judgment as a matter of law as to Windsor’s promissory estoppel claim.

   F. Windsor’s Unjust Enrichment Claim

       Windsor asserts as an alternative claim the theory of unjust enrichment to the extent the

court determines that no enforceable contract exists between the parties. Pl.’s Third Am. Compl.,

Doc. 19 at 21. Windsor alleges that “Defendants have benefited financially from Plaintiff[’]s effort

and service” and the “receipt of such benefit is unjust enrichment,” for which Windsor seeks

damages of $21,125,000, the amount he claims entitlement to under the alleged agreement. Id.

       Defendants argue that unjust enrichment is not a separate cause of action under Texas law,

as this court has previously held. Defs.’ Mot. for Summ. J, Doc. 113 at 30 (citing Fisher v. Blue

Cross & Blue Shield of Tex., Inc., 2015 WL 5603711, at *12 (N.D. Tex. Sept. 23, 2015) (“[T]he

vast majority of courts, including this court, now hold that unjust enrichment is not a separate

cause of action.”). In response, Windsor relies on Texas Supreme Court authority published prior

to the court’s ruling in Fisher and fails to address the court’s established stance on this issue. This

court has explained that, although the Texas Supreme Court has referred to “unjust enrichment

claims,” “those opinions do not characterize unjust enrichment as a separate cause of action from



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money had and received” and rather “consider it to be a general theory of recovery for an equitable

action seeking restitution.” Chapman v. Commonwealth Land Title Ins. Co., 814 F. Supp. 2d 617,

725 (N.D. Tex. 2011). Other federal courts have arrived at the same conclusion and considered

some of the opinions cited by Windsor. See, e.g., Hancock v. Chicago Title Ins. Co., 635 F. Supp.

2d 539, 560 (N.D. Tex. 2009) (holding that, though the Supreme Court of Texas and other courts

still occasionally refer to an “unjust enrichment claim,” such opinions do not characterize it as a

separate cause of action from money had and received, and “consider it to be a general theory of

recovery for an equitable action seeking restitution” (citing Elledge v. Friberg-Cooper Water

Supply Corp., 240 S.W.3d 869 (Tex. 2007) and HECI Expl. Co. v. Neel, 982 S.W.2d 881 (Tex.

1998)).

          Even if unjust enrichment were an independent cause of action, Windsor has not set forth

any evidence that he is entitled to the type of recovery available under this theory. “Unjust

enrichment . . . characterizes the result of a failure to make restitution of benefits either wrongfully

or passively received under circumstances [that] give rise to an implied or quasi-contractual

obligation to repay.” Walker v. Cotter Properties, Inc., 181 S.W.3d 895, 900 (Tex. App.—Dallas

2006, no pet.) (citations omitted). “The unjust enrichment doctrine applies principles of restitution

to disputes [when] there is no actual contract and is based on the equitable principle that one who

receives benefits which would be unjust for him to retain ought to make restitution.” Id. (citations

omitted). Windsor’s unjust enrichment “claim” is duplicative of his breach of contract claim, and

his Response does not set forth any evidence to show that Defendants were unjustly enriched.

Moreover, Windsor seeks benefit-of-the-bargain damages based on the three compensatory terms

he argues he was owed, but he does not set forth any competent summary judgment evidence




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regarding the reasonable value of work performed in connection with the development and launch

of Nerium.

       As unjust enrichment is not an independent cause of action, Defendants are entitled to

judgment as a matter of law as to this claim. Even if the claim is legally cognizable, Defendants

are entitled to judgment as a matter of law as to this claim because Windsor fails to set forth

evidence that he is entitled to restitution under an unjust enrichment theory of recovery.

   G. Windsor’s Request for Declaratory Relief

       In Windsor’s prayer for relief in the Third Amended Complaint, he seeks fifteen

declarations from this court that are duplicative of the relief sought in his federal and state

substantive claims. Pl.’s Third Am. Compl., Doc. 19 at 23 (see, e.g. “Declaratory Judgment that:

(a) Plaintiff is, and has been at all relevant times hereto, the Copyright owner of Plaintiff’s

Copyrighted Work Product . . . (f) That Defendant Olson and/or Defendant Nerium failed to pay

Plaintiff what the Defendants had promised to pay Plaintiff”).

       Defendants argue that they are entitled to summary judgment with respect to Windsor’s

declaratory judgment claim because it is duplicative of other claims and, therefore, “seeks

resolution of matters that will already be resolved” as part of Plaintiff’s other claims. Def.’s Mot.

for Partial Summ. J., Doc. 113 at 59 (citing Ecoquij-Tzep v. Le Arlington, Inc., No. 3:16-CV-625-

BN, 2018 WL 1737658, at *2-3 (N.D. Tex. Apr. 10, 2018)). In response, Windsor states, “As

Plaintiff has raised genuine disputes as to material facts with regards . . . to his Copyrighted works,

summary judgment on Plaintiff’s requested Declaratory Judgment is improper.” Pl.’s Resp., Doc.

130 at 58.

       This court has previously declined in its discretion to adjudicate declaratory judgment

actions that are duplicative of other claims in the same case. Great American Ins. Co. v. Goin,



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2017 WL 4238698, at *4 (N.D. Tex. 2017) (citation omitted). Further, district courts in this Circuit

regularly reject declaratory judgment claims seeking the resolution of issues that are the mirror

image of other claims in a lawsuit. Id. (citing American Equip. Co., Inc. v. Turner Bros. Crane and

Rigging, LLC, No. 4:13-CV-2011, 2014 WL 3543720, at *4 (S.D. Tex. July 14, 2014). As correctly

noted by Defendants, Windsor’s requests for declaratory relief are the mirror image of his federal

and state claims in this action, specifically the copyright infringement and breach of contract

claims, which the court has already resolved in the previous sections of this opinion. As Windsor’s

requests for declaratory relief are duplicative of other claims in this case, the court determines that

Defendants are entitled to judgment as a matter of law as to these requests.

   H. Nerium’s Counterclaims Under the Defend Trade Secrets Act and Texas Uniform
      Trade Secrets Act

       Nerium asserts counterclaims against Windsor for trade secret misappropriation in

violation of 18 U.S.C. §§ 1836-39 (DTSA) and Texas Civil Practice and Remedies Code §

134A.001 et seq. (TUTSA). Defs.’ Answer, Doc. 20, ¶¶ 120, 133. Nerium contends that Windsor

created unauthorized copies of its trade secret information after his termination and subsequently

disclosed them without Nerium’s authorization in legal pleadings and in connection with his work

for a direct competitor of Nerium. Id., ¶¶ 124-25. Nerium contends that, upon his termination,

Windsor deliberately destroyed the data on his work laptop before returning it to Nerium and

secretly retained one or more electronic copies of at least some of the information he destroyed,

including Nerium’s trade secret information. Id., ¶ 128.

       Windsor moves for summary judgment on these counterclaims on the basis that no

evidence exists to establish the elements of these claims as set forth under the DTSA and TUTSA.

Pl.’s Mot. for Summ. J., Doc. 117 at 13. Windsor further argues that Nerium has failed to allege

that it suffered any damages caused by the alleged misappropriation.


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       In response, Nerium argues that the evidence establishes that a genuine dispute of material

fact exists with respect to each challenged element of the trade secret claims Nerium has asserted.

First, Nerium asserts that the confidential business information misappropriated by Windsor falls

within the definition of a trade secret under both TUTSA and DTSA. The business information

asserted by Nerium as trade secret information includes “brand-partner reports” (a list of Nerium’s

salesforce, also known as brand partners) and reports generated by Nerium to analyze its

company’s compensation payments to its brand partners. Def.’s Resp., Doc. 127 at 14, 16. Nerium

asserts that it took reasonable measures to maintain the secrecy of this information by maintaining

it on a password-protected computer system, limiting its access to a number of personnel, and

implementing written employment policies governing access to and use of its confidential

information. Id. at 16-17.

       Under both the DTSA and TUTSA, a trade secret is defined as information, including

financial data and lists of actual or potential customers or suppliers, that the owner has taken

reasonable measures to keep secret and which derives independent economic value from not being

generally known or readily ascertainable through proper means. See TFC Partners, Inc. v. Stratton

Amenities, LLC, 2010 WL 369152, at *2 (W.D. Tex. Jan. 30, 2019); 18 U.S.C. § 1839(3); Tex.

Civ. Prac. & Rem. Code § 134A.002(6). The court determines that Nerium has provided sufficient

competent evidence—through the declarations of forensic investigator Ashraf Massoud and

Nerium employee Amber Olson Rourke, as well as exhibits containing copies of the allegedly

misappropriated information and the Nerium Employee Handbook—in support of its contention

that Windsor stored on his personal electronic device Nerium financial data and brand-partner

reports that are entitled to trade secret protection and that Nerium took reasonable measures to

keep secret. Def.’s App., Doc. 128 at 216-361, 425-560. Windsor, in his reply, does not contest



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that the financial data and brand-report reports are the types of information subject to trade secret

protection.

       Windsor argues that Nerium has failed to present evidence that he misappropriated its trade

secrets because he properly acquired the trade secrets as part of his employment as Nerium’s

president and the Employee Handbook did not require him to return that property upon his

termination. Pl.’s Reply, Doc. 136 at 4. Windsor argues that Nerium presents no evidence of any

type of agreement, such as a confidentiality agreement or nondisclosure agreement, that required

him to return its property upon his termination. Windsor argues that his continued possession of

Nerium’s property on his back-up electronic devices was, accordingly, not acquired by improper

means. Id. Windsor further argues that Nerium has presented no evidence that he, either as an

employee or after his termination, disclosed any of Nerium’s alleged trade secrets without its

consent. Id. Windsor argues that, upon his termination, he voluntarily agreed to a Preservation

Agreement that “deleted and made unrecoverable all of Nerium’s Claimed property from both

Windsor’s personal physical devices as well as all of Windsor’s accounts with third-party email

and storage providers.” Id. at 5.

       Nerium argues that, when Windsor returned Nerium’s property pursuant to a demand in

his termination letter as well as the termination policy in the Employee Handbook, he “eradicated

all of the data before doing so” and “admits that he made and retained backup copies that he alleges

‘contained all of the materials which were on the laptop.’” Def.’s Resp., Doc. 127 at 19-20. The

termination letter to which Nerium refers, dated March 30, 2016, specifically states:

               I would also like to remind you of your responsibilities under the
               Non-Disclosure Agreement and Confidentiality Agreement you
               signed when you began your employment with the Company, as
               well as your recent acknowledgement of the 2015 Employee
               Handbook signed on July 19, 2015. Please contact me no later than
               Friday, April 1, 2016 to make arrangements to return any and all


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              Company property that you have in your possession including
              computers, tablets, company car, badge, product, company
              materials, company credit card etc., and any other documents and
              electronic files you may have that contain Nerium’s business
              information.

Def.’s App., Doc. 128 at 596. Nerium also cites to the “Termination of Employment” provision in

the April 2015 version of its Employee Handbook that states, in part:

              Any employee who terminates employment is required to return all
              Company Property including but not limited to equipment, files,
              records, badges, keys, and any other material that are property of the
              Company. Departing employees must retrieve personal belonging in
              coordination from the manager. This must be completed within 30
              days of termination. After 30 days, the remaining items will be
              donated to a local charity.

Def.’s App., Doc. 128 at 103.

       Under TUTSA and DTSA, “misappropriation” includes the “[a]cquisition of a trade secret

of another by a person who knows or has reason to know that the trade secret was acquired by

improper means[.]” Tex. Civ. Prac. & Rem. Code § 134A.002(3)(A); 18 U.S.C. § 1839(5)(A).

Windsor effectively concedes that he made back-up copies of Nerium’s information that resulted

in continued possession of its alleged trade secrets after he complied with returning his work

laptop. See Pl.’s Reply, Doc. 136 at 4. Windsor, rather, argues that he was not prohibited from

making these back-up copies because he never signed a nondisclosure or confidentiality

agreement. Id. at 2. The Employee Handbook, however, which Windsor does not dispute governed

his conduct, specifically includes a “Confidentiality” provision that requires employees to

maintain “confidential business information” in “strict confidence” and states that “[s]eparated

employees are also subject to the Non-Disclosure Agreement.” Def.’s App., Doc. 128 at 122. The

court determines that, in light of the parties’ arguments and the summary judgment evidence, that

a genuine dispute of material fact exists as to whether Windsor improperly acquired Nerium’s



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trade secrets by making back-up copies of those electronic files on his personal devices after he

was instructed to turn over company property upon his termination.

       Nerium also contends that Windsor misappropriated its trade secrets through improper

disclosure. Under TUTSA and DTSA, “misappropriation” includes, in part, “disclosure or use of

a trade secret of another without express or implied consent” by a person who, “at the time of

disclosure or use, knew or had reason to know that the person’s knowledge of the trade secret was

acquired under circumstances giving rise to a duty to maintain the secrecy of or limit the use of

the trade secret.” Tex. Civ. Prac. and Rem. Code § 134A.002(3)(B)(ii)(b); 18 U.S.C. §

1839(5)(B)(ii)(II). Nerium contends that, following his termination, Windsor joined the company

Jeunesse to develop its global sales force, and he disclosed and used Nerium’s trade secrets on

behalf of his new employer. Def.’s Resp., Doc. 127 at 21. Nerium specifically cites an e-mail

thread in June 2016, between Windsor and Phillip Wallace (“Wallace”), the Director of

Compliance at Jeunesse, that contains an attachment of what appears to be a screenshot from a

cellular device of an e-mail sent by Courtney Clark (“Clark), a partner in Jeunesse. According to

Nerium, Clark sent this e-mail to Nerium brand partner Pamela Martin (“Martin”), and Martin

subsequently forwarded the e-mail to Nerium’s compliance department. Def.’s Resp., Doc. 127 at

21; Def.’s App., Doc. 128 at 203-213. In the e-mail to Martin, Clark writes in part:

               My name is Courtney Clark. I am a partner in Jeunesse Global and
               you were referred to me by one of our newly appointed senior
               officers. Dennis Windsor, the cofounder of Nerium is now our Chief
               Development Officer at Jeunesse Global. Your success within the
               Nerium organization proves what an asset you could be with us. . . .
               We are excited at the opportunity to double, possibly triple our
               position in the market as we attract people like Dennis and hopefully
               successors like yourself.

Def.’s App., Doc. 128 at 204. Nerium also cites one of the brand-partner reports that Windsor

backed up to his personal device that shows Martin’s name, rank, and identification number at


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Nerium. Def.’s Resp., Doc. 127 at 21; Def.’s App., Doc. 128 at 490. Nerium argues that this

evidence, when viewed together, establishes as minimum a material question of fact as to whether

Windsor improperly disclosed or used of Nerium’s trade secrets.

       In response, Windsor contends that this e-mail does not contain trade secrets or confidential

information, as it merely includes the name and e-mail address of a Nerium brand partner. Windsor

asserts that “Nerium’s business model, as with all other [multi-level marketing] companies,

requires that Brand Partners make themselves known to the public in order to sell their company’s

product. The more visible a Brand Partner is—whether through various social media[] platforms,

blogs, the internet, or in person—the better.” Pl.’s Reply, Doc. 136 at 5. Windsor contends that he

was not subject to a nonsolicitation or noncompete agreement and, therefore, was free to reach out

to Nerium brand partners. Id.

       After reviewing the evidence and parties’ positions, the court determines that a genuine

dispute of material fact exists as to whether Windsor, in recommending that Jeunesse attempt to

recruit Martin, relied on publicly available information that she was a current Nerium brand

partner, or whether he used the brand-partner reports that he uploaded from his Nerium work laptop

in identifying her as a Nerium brand partner.

       With respect to whether Nerium has presented evidence of injury, Windsor argues that

Nerium has presented no evidence of profits lost by Nerium or gained by Windsor, or evidence of

the trade secret’s value or the cost to develop it, to recover damages for misappropriation. Windsor

argues that, to the extent Nerium seeks injunctive relief, that the Preservation Agreement into

which Windsor entered in September 2016 already enjoined him from possessing or using

Nerium’s proprietary property. Pl.’s Reply, Doc. 136 at 6-7.




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       In response, Nerium attaches invoices reflecting the expenses it incurred in hiring Epiq

Global, a forensics and collections provider, that examined Windsor’s personal devices to recover

and attempt to secure its trade secrets. Def.’s Resp., Doc. 127 at 22; Def.’s App., Doc. 128 at 216,

397-424. Nerium also argues that, to seek injunctive relief under TUTSA and DTSA, it is not

required to show damages if there is a showing of actual or threatened misappropriation.

       “Damages in misappropriation cases can take several forms: the value of plaintiff’s lost

profits; the defendant’s actual profits from the use of the secret[;] the value that a reasonably

prudent investor would have paid for the trade secret; the development costs the defendant avoided

incurring through misappropriation; and a ‘reasonable royalty.’” Wellogix, Inc. v. Accenture,

L.L.P., 716 F.3d 867, 879 (5th Cir. 2013) (citation and quotation marks omitted). The court

determines that Nerium has failed to set forth evidence of the type of economic damages

contemplated under the flexible approach taken to calculating damages in trade secrets

misappropriation cases. Nerium has not cited any case authority in support of its contention that

costs incurred in recovering trade secrets, absent additional evidence of pecuniary damages, are

sufficient to entitle Nerium to this type of recovery. The court does, however, determine that

Nerium has established that a genuine dispute of material fact exists as to whether there has been

actual misappropriation by Windsor to entitle Nerium to injunctive relief. See Tex. Civ. Prac. &

Rem. Code § 134A.003(a) (“Actual or threatened misappropriation may be enjoined[.]”); 18

U.S.C. § 1836(b)(3)(A)(i) (“[A] court may grant an injunction to prevent any actual or threatened

misappropriation[.]”).

       For the reasons herein stated, the court determines that Nerium has raised a genuine dispute

of material fact in response to Windsor’s no-evidence summary judgment motion as to its trade

secrets misappropriation claim and will deny the motion as to this claim.



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   I. Nerium’s Breach of Fiduciary Duty and Breach of Duty of Loyalty Claim

       Nerium’s third counterclaim asserts that Windsor violated a fiduciary duty, including a

duty of loyalty, that he owed to Nerium as a result of his employment, which he breached by

secretly retaining Nerium’s trade secret information in back-up copies on his personal devices.

Def.’s Answer, Doc. 20, ¶ 147. Nerium contends that, as its first president and an employee,

Windsor owed Nerium a fiduciary duty that was breached when he misappropriated its trade

secrets and, prior to his termination, he was negotiating for a position with Jeunesse. Nerium

contends that it suffered out-of-pocket expenses in attempting to recover and secure the Nerium

data. Windsor moves for summary judgment on this counterclaim on the basis that Nerium has

failed to establish Windsor was a fiduciary; failed to establish that Windsor breached a duty of

loyalty or fiduciary duty; and failed to establish that the alleged breach proximately caused injury.

       Under Texas law, the elements of a breach of fiduciary duty claim are: (1) the plaintiff and

defendant had a fiduciary relationship; (2) the defendant breached its fiduciary duty to the

plaintiffs; and (3) the defendant’s breach resulted in injury to the plaintiff or benefit to the

defendant. Navigant Consulting, Inc. v. Wilkinson, 508 F.3d 277, 283 (5th Cir. 2007). One type of

fiduciary relationship recognized under Texas law is an informal fiduciary relationship, which can

arise between an employee and employer. Id. at 283. “An employee may prepare to go into

competition with his employer—before resigning—without breaching fiduciary duties owed to

that employer,” but an employee ‘may not appropriate his employer’s trade secrets’ or ‘carry away

certain information, such as lists of customers.’” Rimkus Consulting Group, Inc. v. Cammarata,

688 F. Supp. 2d 598, 668 (S.D. Tex. 2010) (quoting Navigant Consulting, Inc., 508 F.3d at 284).

        The court determines that a genuine dispute of material fact exists as to whether Windsor,

while an employee at Nerium and prior to his termination, took steps to appropriate Nerium’s trade



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secrets and then “carried away” confidential information that may be subject to trade secret

protection. The court further determines that Nerium has set forth sufficient evidence, such as the

expenses it incurred in recovering the data from Windsor’s device, to raise a fact question as to

whether it suffered an injury. The court accordingly will deny Windsor’s motion for summary

judgment as to this claim.

   J. Nerium’s Counterclaim for Conversion

       Nerium asserts a counterclaim for conversion based on the same factual allegations

asserted in his trade secrets misappropriation claim. “Conversion is defined as the wrongful

exercise of dominion and control over another’s property in denial of or inconsistent with his [or

her] rights.” Bandy v. First State Bank, 835 S.W.2d 609, 622 (Tex. 1992) (citation and internal

quotation marks omitted). “The taking of a party’s confidential client list and trade secrets can be

the basis for a conversion claim. Where the property at issue in a conversion claim is essentially

information, and not a tangible item, the plaintiff has to show that the defendant intended to deprive

the plaintiff of the information, or that the defendant intended to use the information in a manner

that excluded or was inconsistent with the plaintiff’s rights.” Cuicado Casero Home Health of El

Paso, Inc. v. Ayuda Home Health Care Servs., LLC, 404 S.W.3d 737, 749 (Tex. App.—El Paso

2013, no pet.)) (citations and internal quotation marks omitted).

       Windsor contends that Nerium has failed to establish each element of conversion. The court

disagrees and determines that, in light of the evidence it reviewed with respect to Nerium’s trade

secret misappropriation claim, a genuine dispute of material fact exists in light of Windsor’s

decision to delete the documents on his Nerium work laptop and create back-up copies on his

personal device. The court determines that, if Windsor improperly created copies of Nerium’s

alleged trade secrets, and subsequently disclosed those trade secrets to Jeunesse, such conduct



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would be inconsistent with Nerium’s rights. Nerium has adequately raised a genuine dispute of

material fact regarding the issues of damages by establishing that it incurred expenses in

attempting to recover and secure the Nerium data that he allegedly improperly retained.

Accordingly, Windsor is not entitled to summary judgment on Nerium’s conversion counterclaim.

   K. Nerium’s Counterclaims for Declaratory Judgment of No Copyright Infringement,
      Copyright Invalidity and Implied License

       Nerium seeks a declaratory judgment that: (1) the alleged copyrighted works asserted by

Windsor in his Third Amended Complaint are works for hire owned by Nerium; (2) Nerium has

not infringed and does not infringe any valid and enforceable copyrights in the alleged copyrighted

works; (3) the alleged copyrights are invalid; and (4) to the extent Windsor has a valid copyright

in the works, Nerium has an implied license in them that is irrevocable and unlimited in scope.

Def.’s Answer, Doc. 20, ¶¶ 164, 169, 177, and 184.

       1.      Declaratory Judgment of Copyright Ownership

       In its fifth counterclaim, Nerium seeks a declaratory judgment that the alleged copyrighted

works are works for hire that are owned by Nerium. Under 17 U.S.C. § 101, a work for hire is

defined as “a work prepared by an employee within the scope of his or her employment.” “In the

case of a work made for hire, the employer or other person for whom the work was prepared is

considered the author . . . and, unless the parties have expressly agreed otherwise in a written

instrument signed by them, owns all of the rights comprised in the copyright.” 17 U.S.C. § 207(b).

       With respect to the “Compensation Plan,” Nerium argues that the summary judgment

evidence demonstrates that the work was originally co-authored by a number of people, including

Amber Olson Rourke (“Rourke”), who ran point on “the actual book and document. Def.’s Resp.,

Doc. 127 at 29 (citing Rourke Dep., Def.’s App., Doc. 128 at 23-26). Nerium does not set forth

evidence that, at the time Rourke co-authored the 2011 original “Compensation Plan,” she was an


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employee, which is required to establish ownership based on a work for hire theory. Nerium does,

however, set forth evidence that when Rourke was employed by Nerium after its 2011 launch, she

co-authored later versions of the document. Def.’s Resp., Doc. 127 at 31 (citing Rourke Decl.,

Def.’s App., Doc. 128 at 428. With respect to the “MLM Roadmap to Lexus,” Nerium similarly

agues that the work was co-authored by Rourke and others prior to the 2011 launch and, after

launch, Rourke co-authored later versions of the work as a Nerium employee.

       In his motion for summary judgment, Windsor argues that he is entitled to summary

judgment on Nerium’s declaratory judgment counterclaim of copyright ownership because “there

is no evidence that Plaintiff Windsor was an employee of Defendant Nerium at the time he created

the Copyright Works and there is no evidence that there has ever been a written work for hire

agreement” between the parties. Pl.’s Mot. for Summ. J., Doc. 117 at 20.

       Neither party addresses the threshold issue that the court must consider in determining

Nerium’s copyright ownership rights in the works: whether the works are entitled to copyright

protection at all. As explained in a previous section of this opinion, the court determined that the

“Compensation Plan” relied on by Windsor in his copyright claim was not subject to copyright

protection because it is an unoriginal spreadsheet containing fragmentary and functional short

phrases and data. The court likewise determined the “MLM Roadmap to Lexus” was not

copyrightable. In pleading its counterclaim and responding to Windsor’s motion, Nerium fails to

make the preliminary showing that it has a valid copyright in the work, which is shown by “proof

of originality and copyrightability in the work as a whole and by compliance with applicable

statutory formalities.” Eng’g Dynamics, 26 F.3d at 1340. This Nerium has not done. Contrary to

Nerium’s assertion that it does not bear the burden of proof as to the issue of copyright ownership,

to prevail on its counterclaim, Nerium must present evidence that it owns a valid and enforceable



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copyright in the work. See Fontenot, 780 F.2d at 1194 (“[I]f the movant bears the burden of proof

on an issue, either because he is the plaintiff or as a defendant he is asserting an affirmative defense,

he must establish beyond peradventure all of the essential elements of the claim or defense to

warrant judgment in his favor.”).

        As Nerium has failed to show that the works are copyrightable, the court determines that

no genuine dispute of material fact exists as to whether Nerium owns a copyright in the work,

irrespective of the applicability of the work-for-hire doctrine. Accordingly, the court grants

Windsor’s motion for summary judgment with respect to Nerium’s counterclaim for a declaration

that it has copyright ownership in the “Compensation Plan” and “MLM Roadmap to Lexus” and

further declares that it does not have a copyright ownership in such works.

        2.    Declaratory Judgment of No Copyright Infringement, Copyright Invalidity,
        and Implied License

        In its sixth counterclaim, Nerium seeks a declaration that it has not infringed any valid and

enforceable copyrights in the alleged copyrighted works. In its seventh counterclaim, it seeks a

declaration that Windsor does not have valid and enforceable copyrights in the alleged works. In

its eighth counterclaim, Nerium seeks a declaration that, to the extent the court determines Windsor

does have a copyright in the works, Nerium has an implied license to use them. Windsor moves

for summary judgment on these counterclaims and seeks their dismissal for arguments that are

identical to those advanced in support of his copyright infringement claim.

        As the court has determined in section III(A) of this opinion that no genuine dispute of

material fact exists as to whether Windsor owns a valid and enforceable copyright in the alleged

works, the court denies Windsor’s summary judgment motion with respect to these declarations

in Nerium’s sixth, seventh, and eighth counterclaims. It would be improper to grant summary




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judgment on these counterclaims in light of the court’s ruling as to Windsor’s copyright

infringement claim.

IV.     Conclusion

        For the reasons herein stated, the court determines that Plaintiff has failed to raise a genuine

dispute of material fact as to its federal and state law claims alleged in the Third Amended

Complaint. The court accordingly grants Defendants’ Motion for Partial Summary Judgment

(Doc. 110) with respect to Plaintiff’s claims for copyright infringement, breach of contract,

fraudulent inducement/fraud, promissory estoppel, unjust enrichment, and declaratory relief

relating to these claims; and they are dismissed with prejudice. The court grants in part and

denies in part Plaintiff’s Motion for Summary Judgment (Doc. 115) with respect to Defendant

Nerium’s counterclaims for trade secrets misappropriation under DTSA and TUTSA, breaches of

fiduciary duty and duty of loyalty, conversion, and declaratory relief relating to copyright

ownership over the works at issue in this action. The court specifically grants Plaintiff’s motion

with respect to Nerium’s counterclaim seeking a declaration that it has a copyright ownership in

the alleged works and denies Plaintiff’s motion with respect to Nerium’s counterclaims seeking a

declaration that it has not infringed on the alleged works, that Windsor has no valid copyright in

the alleged works, and that, alternatively, Nerium had an implied license to use the works. The

claims that remain for trial are Defendants’ counterclaims under the Defend Trade Secrets Act, the

Texas Uniform Trade Secrets Act, breaches of fiduciary duty and duty of loyalty, and conversion.

        Now that the court has ruled on the parties’ motions for summary judgment and narrowed

the issues for trial, the parties should seriously consider whether this action can be resolved without

the necessity of a trial. For this reason, the court extends the deadline for filing the initial pretrial




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material to May 15, 2019. The parties are to inform the court in writing by noon, Tuesday, May

14, 2019, whether settlement is a viable option.

       It is so ordered this 10th day of May, 2019.



                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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